                           1   JOSHUA HILL JR. (SBN 250842)
                               jhill@mofo.com
                           2   CHRISTINE Y. WONG (SBN 284026)
                               christinewong@mofo.com
                           3   MORRISON & FOERSTER LLP
                               425 Market Street
                           4   San Francisco, CA 94105
                               Tel: (415) 268-7000
                           5   Fax: (415) 268-7522

                           6   Special Regulatory Counsel to Debtors
                               and Debtors in Possession
                           7

                           8                             UNITED STATES BANKRUPTCY COURT
                           9                             NORTHERN DISTRICT OF CALIFORNIA
                          10                                      SAN FRANCISCO DIVISION
                          11

                          12
Morrison & Foerster LLP




                          13   In re                                             Bankruptcy Case No. 19-30088 (DM)
San Francisco, CA 94105
   425 Market Street




                          14   PG&E CORPORATION,                                 Chapter 11

                          15           - and -                                   (Lead Case)

                          16   PACIFIC GAS AND ELECTRIC                          (Jointly Administered)
                               COMPANY,
                          17                                                     TENTH MONTHLY FEE STATEMENT
                                                       Debtors.                  OF MORRISON & FOERSTER LLP FOR
                          18                                                     ALLOWANCE AND PAYMENT OF
                                Affects PG&E Corporation                        COMPENSATION AND
                          19    Affects Pacific Gas and Electric Company        REIMBURSEMENT OF EXPENSES FOR
                                Affects both Debtors                            THE PERIOD FROM APRIL 1, 2020
                          20                                                     THROUGH APRIL 30, 2020
                               * All papers shall be filed in the Lead Case,
                          21   No. 19-30088 (DM).                               Objection Deadline: June 11, 2020 at 4:00
                                                                                p.m. (Pacific Time)
                          22
                                                                                [No Hearing Requested]
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                                                                         4
                           1    To:                                               The Notice Parties
                           2    Name of Applicant:                                Morrison & Foerster LLP
                           3
                                Authorized to Provide Professional Services to: Special Regulatory Counsel to Debtors
                           4                                                    and Debtors in Possession
                                Date of Retention:                              June 12, 2019 nunc pro tunc to January 29,
                           5                                                    2019
                           6    Period for which compensation and April 1, 2020 through April 30, 2020
                                reimbursement are sought:
                           7
                                Amount of compensation sought as actual, $64,508.66 (80% of $80,635.83)
                           8    reasonable, and necessary:
                           9
                                Amount of expenses reimbursement sought as $0.00
                          10    actual, reasonable, and necessary:

                          11

                          12
                                      Morrison & Foerster LLP (“Morrison & Foerster” or the “Applicant”), special regulatory
Morrison & Foerster LLP




                          13
San Francisco, CA 94105




                               counsel to the Debtors and Debtors in Possession (the “Debtors”), hereby submits its Tenth
   425 Market Street




                          14
                               Monthly fee statement (this “Monthly Fee Statement”) for allowance of payment and
                          15
                               compensation for professional services rendered and for reimbursement of actual and necessary
                          16
                               expenses incurred for the period commencing April 1, 2020 through April 30, 2020 (the “Fee
                          17
                               Period”) pursuant to the Order Pursuant to 11 U.S.C. §§ 331 and 105(a) and Fed. R. Bankr. P.
                          18
                               2016 for Authority to Establish Procedures for Interim Compensation and Reimbursement of
                          19
                               Expenses of Professionals dated February 27, 2019 [Docket No. 701] (the “Interim Compensation
                          20
                               Procedures Order”).
                          21
                                      By this Monthly Fee Statement, Morrison & Foerster requests allowance and payment of
                          22
                               $64,508.66 (80% of $80,635.83) as compensation for professional services rendered to the Debtors
                          23
                               during the Fee Period and allowance and payment of $0.00 (representing 100% of the expenses
                          24
                               allowed) as reimbursement for actual and necessary expenses incurred by Morrison & Foerster
                          25
                               during the Fee Period.
                          26
                                      Annexed hereto as Exhibit A is the name of each professional who performed services for
                          27
                               the Debtors in connection with these Chapter 11 Cases during the Fee Period covered by this Fee
                          28
                                                                              2
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                                                                      4
                           1   Statement and the hourly rate and total fees for each professional. Attached hereto as Exhibit B is

                           2   a summary of hours during the Fee Period by task. Attached hereto as Exhibit C is a summary of

                           3   expenses incurred during the Fee Period. Attached hereto as Exhibit D are the detailed time entries

                           4   for the Fee Period. Attached hereto as Exhibit E are the detailed expenses for the fee period.

                           5          In accordance with the Interim Compensation Procedures Order, responses or objections to

                           6   this Monthly Fee Statement, if any, must be filed and served on or before the 21st day (or the next

                           7   business day if such day is not a business day) following the date the Monthly Fee Statement is

                           8   served (the “Objection Deadline”) with this Court.

                           9          Upon the expiration of the Objection Deadline, the Applicant shall file a certificate of no

                          10   objection with the Court, after which the Debtors are authorized and directed to pay the Applicant

                          11   an amount equal to 80% of the fees and 100% of the expenses requested in this Monthly Fee

                          12   Statement. If an objection is properly filed, the Debtors shall be authorized and directed to pay the
Morrison & Foerster LLP

San Francisco, CA 94105




                          13   Applicant 80% of the fees and 100% of the expenses not subject to an objection.
   425 Market Street




                          14
                                Dated: May 21, 2020                                 By: MORRISON & FOERSTER LLP
                          15
                                                                                    /s/ Joshua Hill Jr.
                          16                                                        JOSHUA HILL JR. (SBN 250842)
                                                                                    jhill@mofo.com
                          17                                                        CHRISTINE Y. WONG (SBN 284026)
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                          20
                                                                                    Special Regulatory Counsel to Debtors
                          21                                                        and Debtors in Possession
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                           1                                        NOTICE PARTIES
                           2   PG&E Corporation
                               c/o Pacific Gas & Electric Company
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                           5   Keller & Benvenutti LLP
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                           6   San Francisco, CA 94108
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                           7          Jane Kim, Esq.
                           8   The Office of the United States
                               Trustee for Region 17
                           9   450 Golden Gate Avenue, 5th Floor
                               Suite #05-0153
                          10   San Francisco, CA 94102
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                          11          Timothy Laffredi, Esq.

                          12   Milbank LLP
                               55 Hudson Yards
Morrison & Foerster LLP




                               New York, NY 10001-2163
San Francisco, CA 94105




                          13
                               Attn: Dennis F. Dunne, Esq.,
   425 Market Street




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                          17         Gregory A. Bray, Esq.,
                                     Thomas R. Kreller, Esq.
                          18
                               Baker & Hostetler LLP
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                          20   Attn: Eric Sagerman, Esq.,
                                     Cecily Dumas, Esq.
                          21
                               Bruce A. Markell
                          22   Fee Examiner
                               541 N. Fairbanks Ct., Ste 2200
                          23   Chicago, IL 60611-3710

                          24   Scott H. McNutt
                               324 Warren Road
                          25   San Mateo, California 94402
                               Attorney for Fee Examiner
                          26

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